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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF DELAWARE



BRENDAN LINEHAN SHANNON                                                               824 N. MARKET STREET
      JUDGE                                                                          WILMINGTON, DELAWARE
                                                                                          (302) 252-2915




                                                  July 26, 2021



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                RE:     In re: Old LC, Inc., et al. – Case No. 19-11791 (BLS)
                        Official Committee of Unsecured Creditors v. Upfront V, LP,
                        Breakwater Credit Opportunities Fund, L.P., et al.
                        Adv. Proc. No. 20-51002 (BLS)

Dear Counsel:

       This letter follows upon a hearing held on July 22, 2021 in the above matter and compromises the Court’s
ruling on two separate motions: first, the Motion of Breakwater Defendants for Protective Order [Docket No.
58]; and second, Plaintiff’s Motion to Deny or Continue Breakwater’s Motion for Partial Summary Judgment to
Permit Necessary Discovery and Motion to Compel Depositions [Docket No. 60]. For the reasons that follow,
the Court will deny the Motion for Protective Order and will authorize discovery and depositions to go forward.

        This adversary proceeding was commenced by the Committee against the Breakwater Defendants and
certain other parties alleging breach of fiduciary duty and claims seeking recovery of alleged fraudulent
conveyances. Given the narrow issues presently before the Court, it is not necessary to detail all of the
allegations contained in the lengthy Amended Complaint. In a nutshell, the Committee alleges that the
Breakwater Defendants (and others) used their position as stakeholders in the Debtor to frustrate the Debtor’s
ability to recapitalize or otherwise deal with the business and liquidity crises that ultimately led to the Chapter 11
filing.
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        The Breakwater Defendants have moved for partial summary judgment on the theory that their
contractual relationship with the Debtors explicitly provided them with the right to refuse to consent to any
recapitalization that might result in their dilution. It is the position of the Breakwater Defendants that the
exercise of their contractual rights cannot give rise to a claim for breach of fiduciary duty. Accordingly, the
Breakwater Defendants seek to preclude depositions and discovery relating to these counts pending disposition
of their Motion for Partial Summary Judgment by the Court. They recommend that discovery be held in
abeyance and that the issue can be revisited after the Court has ruled, when the appropriate scope of discovery
would be informed by the Court’s ruling.

       Plaintiff responds that its Complaint is not predicated exclusively on the Breakwater Defendants’ refusal
to consent to refinancing or recapitalization opportunities. Plaintiff directs the Court’s attention to sections of the
Complaint describing secret meetings and communications to sabotage the Debtor’s restructuring efforts,
controlling independent directors, creating a cash crisis and other alleged activities.

       The Plaintiff’s allegations contemplate and require a fact-intensive inquiry that must be supported by
appropriate discovery. The Court is satisfied that the Plaintiff has demonstrated that further discovery is
necessary and appropriate before consideration of the Motion for Partial Summary Judgment. It is the
expectation of the Court that the parties will confer regarding scheduling of the requested depositions and reach
agreement thereon. To state the obvious, the Court notes the following: today’s ruling simply denies the Motion
for Protective Order, and authorizes and permits relatively routine discovery practice in an adversary proceeding,
nothing further. The Court makes no comment either way on the substance of the arguments contained in the
briefing on the Motion for Partial Summary Judgment and will deal with that motion on the merits in due course.

        The Court requests that the parties confer on an appropriate order memorializing the foregoing and submit
that order under certification within seven days of the date hereof.

                                                            Very truly yours,



                                                            Brendan Linehan Shannon
                                                            United States Bankruptcy Judge
   BLS/jmw
